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                                                August 22, 2019

 VIA ECF ONLY
  The Honorable Karen M. Williams
  U.S. District Court, District of New Jersey
  Mitchell H. Cohen Building & U.S.
  Courthouse
  4th & Cooper Streets
  Camden, NJ 08101

         Re: The HomeSource, Corp. v. Retailer Web Services, LLC, et al.
             Case No. 1:18-cv-11970-JBS-KMW

 Dear Judge Williams,

        This letter briefly responds to Defendant Retailer Web Services, LLC’s (“RWS”) letter of
 August 22, 2019 (ECF No. 111). We represent the Plaintiff, The HomeSource Corp.
 (“HomeSource”) in the above-referenced matter. We filed our motion for sanctions pursuant to
 Fed. R. Civ. P. 37(c)(2) and 37(e). Defendant Retailer Web Services, LLC (“RWS”) cites the
 wrong local rule that is not applicable to motion that was filed. In fact, the local rule regarding
 applications for sanctions does not have any such conference requirement. See L. Civ. R. 37.2 –
 Applications for Fed. R. Civ. P. 37 Sanctions.

          HomeSource’s motion is not, as RWS claims, a “discovery motion” pursuant to Rule
 37.1. HomeSource is not moving to compel the production of any discovery information, and
 cannot move to compel that information, because the information has already been spoiled.
 Before the information was spoiled, the parties had several meet and confers between October
 2018 and February 2019, to no avail. See Discovery Letters to Judge Williams and Motion to
 Compel, ECF Nos. 24, 30, 37, 41, 43, 44, 47. Between August and December 2018,
 HomeSource repeatedly raised the issue with RWS and the Court, that if RWS did not identify
 all of its Internet Service Providers (“ISPs”) to HomeSource, the ISPs would destroy relevant
 information, such as which IP addresses were utilized by RWS prior to August 2018, which is
 exactly what happened. See, e.g., ECF Nos. 24, 30, 37. Similarly, a motion to compel cannot
 address the fact that HomeSource was required to amend its complaint due to RWS’s
 misconduct; the only available remedy at this point is sanctions. Thus, it was appropriate for
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 HomeSource to file its motion for sanctions with the clerk of court, as required by L. Civ. R.
 37.2. See Wachtel v. Health Net, Inc., 239 F.R.D. 81, 93-94 (D.N.J. Dec. 6, 2006).

        With respect to RWS’s discovery deficiencies that can be resolved through a motion to
 compel, HomeSource did seek leave to file a motion to compel, and followed the local procedure
 that RWS references, on the same day. See ECF Nos. 108 and 109.




                                              Respectfully submitted,

                                              FLASTER/GREENBERG P.C.




                                              Eric R. Clendening

 cc: All Counsel of Record
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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

  THE HOMESOURCE, CORP.
                                                   No:
                                                              Case No. 1:18-cv-11970
                          Plaintiff,

              vs.

  RETAILER WEB SERVICES, LLC, et al.

                          Defendants.


                                  CERTIFICATE OF SERVICE

          I hereby certify that on August 22, 2019, I served the letter to Magistrate Judge Karen M.

 Williams on all counsel of record using the Court’s ECF system.




                                        /s/_Eric Clendening______________
                                        Eric Clendening, Esq.
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                                        Attorneys for Plaintiff




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